  Case: 6:18-cv-00279-REW Doc #: 5 Filed: 02/25/19 Page: 1 of 3 - Page ID#: 35



                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF KENTUCKY
                                  LONDON DIVISION
                           CIVIL ACTION NO. 6:18-cv-279-REW
                                   Filed Electronically

In re: 589 Florence Street, Corbin, KY 40701

UNITED STATES OF AMERICA                                                    PLAINTIFF

VS.

ESTATE OF BETTY LOUISE PARKS, DECEASED; ET AL                               DEFENDANTS

                PLAINTIFF’S RESPONSE TO ORDER TO SHOW CAUSE
                                  *********

       Comes the Plaintiff, by and through counsel, and hereby provides the following

information regarding the status of this matter:

       Counsel for Plaintiff attempted to serve Defendant Vicky May at her last known address

of 2186 Crystal Springs Road, Danville, KY 40422, however, this certified mailing was returned

undeliverable by the United States Postal Service. A return of unexecuted summons was filed

herewith. Counsel has completed internet and website searches in an attempt to ascertain any other

known addresses for this Defendant, however, our attempts have been unsuccessful.

       Since the filing of the Complaint herein, counsel has been engaged in attempts to locate

the other heirs of Betty Louise Parks, deceased, or a probate filing for said decedent. Counsel has

conducted searches in the Laurel and Boyle County Clerk’s Offices, in addition to internet

searches, and has been unsuccessful.

       Filed herewith are Motions to issue Warning Orders and appoint Warning Order Attorneys

for Defendants: The Estate of Betty Louise Parks, Deceased; Vicky May; The Unknown Spouse

of Vicky May; Debbie Parks; The Unknown Spouse of Debbie Parks; Roger Parks; The Unknown

Spouse of Roger Parks; The Unknown Spouse of Betty Louise Parks, Deceased; the Unknown

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  Case: 6:18-cv-00279-REW Doc #: 5 Filed: 02/25/19 Page: 2 of 3 - Page ID#: 36



Heirs of Betty Louise Parks, Deceased; and the Unknown Spouses of the Unknown Heirs of Betty

Louise Parks, Deceased.

       Counsel for Plaintiff further states that no prejudice against the Defendants has been caused

by Counsel for Plaintiffs delay in prosecution of this case.

       Counsel for Plaintiff apologizes to this Honorable Court for its delay in filing, and

respectfully requests that this Court consider its Motions for Issuance of Warning Orders tendered

herewith, and that this cause of action remain on the active docket.

                                                      Respectfully submitted,

                                                      /s/ A. George Mason, Jr.
                                                      A. George Mason, Jr.
                                                      KBA No. 44596
                                                      Attorney for the Plaintiff
                                                      4048 Peppertree Drive
                                                      Lexington, KY 40513
                                                      Phone: (859) 224-8277
                                                      Fax: (859) 296-2998
                                                      Email: george@georgemasonlf.com




                                                 2
  Case: 6:18-cv-00279-REW Doc #: 5 Filed: 02/25/19 Page: 3 of 3 - Page ID#: 37



                                 CERTIFICATE OF SERVICE
       This will certify that I electronically filed the foregoing into the Court’s record of this

action by using the Court’s CM/ECF Electronic Filing System, and that any order of judgment

United States of America Proposes in connection therewith is an attachment to the filing.

       This will further certify that a true and correct copy of the foregoing, together with a copy

of any order or judgment United States of America proposes in connection herewith, has been

served as follows:

-Via U.S. Postal Service, postage prepaid

Vicky May
2186 Crystal Springs Road
Danville, KY 40422

                                                     By: /s/ A. George Mason, Jr.
                                                     Attorney for the Plaintiff
                                                     George Mason Law Firm, PSC




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